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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   ------------------------------------------------------x
   In re                                                 :
                                                         :   Chapter 11
            KENNETH J. TAGGART                           :
                                                         :   Bankruptcy No. 21-12476 (AMC)
                                       Debtor.           :
                                                         :   Hearing Date: 5/4/22 at 12:30pm
                                                         :   Objection Date: 4/22/22
   ------------------------------------------------------x

                     CITY OF PHILADELPHIA’S MOTION TO DISMISS

           AND NOW, comes the City of Philadelphia, (the “City”), a secured creditor and

   general secured creditor in the above-captioned case, by and through its Counsel, Pamela

   Elchert Thurmond, Senior Attorney, pursuant to Bankruptcy Code §1112(b)(1), to dismiss

   the Debtor, Kenneth Taggart’s bankruptcy case.

           The Debtor has been under bankruptcy protection for six months without taking the

   necessary steps to move this case forward and without a reasonable possibility of a

   confirmable plan. The City avers the following in support thereof:

   FACTUAL STATEMENT

          1. On September 9, 2021, the Debtor filed a voluntary petition for Chapter 11

   bankruptcy with this Court.

          2. On October 17, 2021, the Debtor filed a list of all real property owned by him in

   Philadelphia, which included 7606 Bustleton Avenue, 7610 Bustleton Avenue and 7242

   Saul Street, Philadelphia, PA (“the Subject Properties”). See Exhibit A.

          3. The Debtor values the Subject Properties at a current value of Four Hundred

   Fifty Dollars ($450,000). See Exhibit A.




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             4. On September 30, 2021, the City filed a secured claim amounting to Four

   Thousand Three Hundred Eighty-Eight Dollars and Ninety-Two Cents ($4,388.92) for

   water sewer debt owed by the Debtor to the City. See Exhibit B.

             5. On October 5, 2021, the City filed a claim amounting to Twenty-Four Thousand

   Eight Hundred Twenty-Nine Dollars and Four Cents ($24,829.04) owed by the Debtor to

   the City. The City’s secured portion totals $24,197.06 and general unsecured claim totals

   of $631.98. See Exhibit C.

             6. As of today’s date, the Debtor owes the following post-petition debts to the City:

              Debt Type                        Amount                            Address

              Water                            $232.24                           7606 Bustleton Avenue
                                                                                 (as of 3/28/22 bill)
              Real Estate Taxes (2022) $271.34                                   7610 Bustleton Avenue

              Water                            $138.77                           7610 Bustleton Avenue
                                                                                 (as of 3/21/22)
              Real Estate Taxes (2022) $1845.62                                  7242 Saul Street

              Water                            $178.32                           7242 Saul Street (as of
                                                                                 3/24/22)


   See Exhibits D (Water Bills) & E (REA screenshots).

             7. The Debtor’s plan exclusivity has lapsed. See Court Order dated February 3,

   2022 [Docket No. 107]. 1

             8. The Debtor has not filed a motion to set a bar date in this case.

             9. The Debtor has not filed a Plan or Disclosure Statement.

             10. The Debtor’s bankruptcy case should be dismissed for cause pursuant to Section

   1112(b) of the Bankruptcy Code because there is an absence of a reasonable likelihood of


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       The Debtor has asked for reconsideration on that issue which is scheduled for a hearing on April 27, 2022.
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   rehabilitation as wells as the failure to file monthly operating reports and pay post-petition

   taxes.

            11. Section 1112(b)(1) of the Bankruptcy Code specifies “on request of a party in

   interest, and after, notice and a hearing, the court shall convert a case under this chapter to

   a case under chapter 7 or dismiss a case under this chapter, whichever is in the best interests

   of creditors and the estate, for cause . . . .”

            12. Pursuant to 1112(b)(4), cause includes:


            (A) substantial or continuing loss to or diminution of the estate and the absence of
            a reasonable likelihood of rehabilitation;
            (B) gross mismanagement of the estate;
            (C) failure to maintain appropriate insurance that poses a risk to the estate or to the
            public;
            (D) unauthorized use of cash collateral substantially harmful to 1 or more
            creditors;
            (E) failure to comply with an order of the court;
            (F) unexcused failure to satisfy timely any filing or reporting requirement
            established by this title or by any rule applicable to a case under this chapter;
            (G) failure to attend the meeting of creditors convened under section 341(a) or an
            examination ordered under rule 2004 of the Federal Rules of Bankruptcy
            Procedure without good cause shown by the debtor;
            (H) failure timely to provide information or attend meetings reasonably requested
            by the United States trustee (or the bankruptcy administrator, if any);
            (I) failure timely to pay taxes owed after the date of the order for relief or to file
            tax returns due after the date of the order for relief;
            (J) failure to file a disclosure statement, or to file or confirm a plan, within the
            time fixed by this title or by order of the court;
            (K) failure to pay any fees or charges required under chapter 123 of title 28;
            (L) revocation of an order of confirmation under section 1144;
            (M) inability to effectuate substantial consummation of a confirmed plan;
            (N) material default by the debtor with respect to a confirmed plan;
            (O) termination of a confirmed plan by reason of the occurrence of a condition
            specified in the plan; and
            (P) failure of the debtor to pay any domestic support obligation that first becomes
            payable after the date of the filing of the petition.

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           13. The examples of cause listed in Section 1112(b)(4) of the Bankruptcy Code are

   meant to be “illustrative and not exhaustive.” In re Ramreddy, Inc., 440 B.R. 103, 112

   (Bankr. E.D. Pa. 2009).

           14. If the moving party establishes an initial showing of cause, then the burden shifts

   to the Debtor to show “unusual circumstances” exist for the exception in Section 1112(b)(2).

   Id.

           15. “Under Code § 1112(b)(2), a court may dismiss or convert a Chapter 11 case if

   it determines that it is unreasonable to expect that a plan can be confirmed.” In re

   Pensignorkay, Inc., 204 B.R. 676, 680 (Bankr. E.D. Pa. 1997).

           16. The Debtor’s bankruptcy case should be dismissed because the Debtor cannot

   put forth a confirmable plan. See 1112(b)(1)(A).

           17. In the Debtor’s motion for extension of the plan exclusivity [Docket No. 76] he

   outlined the actions he was going to take with respect to claims in his case. With respects

   to claims of the IRS, PADOR and Water Revenue Bureau 2, the Debtor said he may need to

   hire a tax accountant or lawyer, but the Debtor has not taken any action to do so.

           18. The Debtor further stated many claims could be resolved in the specified periods:

   30 to 90 days (Claim #3), 45 to 90 days (Claim #10), 30 to 120 days (Claims #1, 2, & 5) or


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      With respect to the City’s water and tax claims, the Debtor asserts he is being “double billed” because
    the Debtor’s “two parcels were combined into one parcel, but still billed for two.” Exclusivity Motion at
    pp. 2-3. Excepting one brief phone call and one email in which the City provided copies of water account
    statements, the Debtor has done nothing to address his alleged disputes with the City.

    Nonetheless, the City has reviewed the Debtor’s assertions and found them to be meritless. To consolidate
    two parcels, a taxpayer would need to file and record with the Recorder of Deeds, a consolidated deed,
    which the Debtor has failed to do. In addition, any challenge the City’s tax assessment is untimely under
    state law and therefore, the Bankruptcy Court is prohibited considering it pursuant to 11 U.S.C. §
    505(a)(1)(C).


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   60 to 180 days (Claim #7). No claims objections have been filed and there is no evidence

   of resolution with any creditors even though the Debtor’s motion for extension of plan

   exclusivity was filed over 90 days ago.

             19. Creditors have filed secured claims of more than $2.6 million dollars, priority

   claims of more than $2,900, and general unsecured taxes of more than $700,000 in this case.

             20. The Debtor’s Monthly Operating Reports do not reflect the Debtor has sufficient

   income to pay these debts.

              Date                            Income in        excess     of Cash at Month’s End
                                              Expenses
              September 2021                  $2430                            $235

              October 2021                    $2748                            $5037

              November 2021                   $465 3                           $9,302

              December 2021                   ($1340)                          $7,962

              January 2021                    ($12)                            $7,950



             21. The Debtor only has average disposable income of $858.20, which over a 60-

   month plan would total $51,492.

             22. Thus, the Court should dismiss this case pursuant to 11 U.S.C. § 1112(b)(4)(A)

   as the Debtor’s case lacks a reasonable likelihood of rehabilitation.

             23. Furthermore, in the alternative, the Court should dismiss the case pursuant to 11

   U.S.C. § 1112(b)(4)(F) because the Debtor has failed to file the February monthly operating

   report.



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      This Monthly Operating Report is internally inconsistent, but the City reported the number most favorable
    to the Debtor.
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          24. In the alternative, the Court should dismiss the case pursuant to 11 U.S.C. §

   1112(b)(4)(I) because the Debtor has failed to pay post-petition real estate taxes of $2116.96

   and post-petition water debt of $549.33.

           WHEREFORE, the City respectfully requests that this Honorable Court GRANT

   the City’s motion to dismiss the bankruptcy case.

                                                  Respectfully submitted,

                                                  THE CITY OF PHILADELPHIA

   Dated: April 8, 2022                   By:     /s/ Pamela Elchert Thurmond
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